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                                                                                       FILED

                        IN THE UNITED STATES DISTRICT COURT                          APR - 5 2018

                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                CLERK. US DISTRICT COURT
                                                                                      NORFOLK. VA
                                     NORFOLK DIVISION

UNITED STATES OF AMERICA
                                                     Case No. 2:18mjl66
               V.



WALLACE GROVE GODWIN,

                        Defendant.

                                             ORDER


       On the joint requestof the parties and basedon their representations to the Court, as

evidenced by their endorsements on this order, the Court finds that:

       1. On March 23,2018, a warrant was issued for the arrest ofthe defendant on a

complaint charging him with threatening to murderand assault a UnitedStates official in

violation of Title 18, United States Code, Section 115(a)(1)(B).

       2. The defendant was arrested and made his initial appearanceon March 23,2018.

       3. On March 27,2018, at the conclusion of a detention hearing, the Court granted the

Government's motion for detention and ordered that the defendant be detained pending trial.

       4. The Speedy Trial Act requires that any indictment against a defendant be filed within

30 days from the date on which the defendant was arrested, subject to any excludable period of

time. 18 U.S.C.§§ 3161(b) &(h).

       5. The Government and the defendant are exploring the possibility of a pre-indictment

resolution ofpotential charges against the defendant.

       6. The last day of the grand jury session in Norfolk that will be held prior to the date on

which an indictment against the defendantmust be filed is April 20,2018, which may not afford
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